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                           COMPLAINT AFFIDAVIT

      Between May 2020 and the present, members of the DEA Yakima Resident

Office conducted (6) six controlled purchases totaling approximately 1,230 grams

of methamphetamine, approximately 1,300 counterfeit Oxycodone pills suspected

to be laced with fentanyl, and a .357 handgun from NOE RUBIO-FARIAS.

During each of these controlled purchases, a DEA Confidential Source (CS) was

utilized. Additionally, during each controlled purchase the CS was equipped with

an audio and video recording device. The CS is assisting the DEA for monetary

compensation. The CS has no criminal history.

      During four of the six controlled purchases, agents observed RUBIO depart

his residence at 706 N Naches Ave, Yakima, WA, sell methamphetamine or

fentanyl laced pills to the CS, and then return home immediately after the

transaction. During most of the controlled purchases, RUBIO possessed a firearm

in his vehicle.

      For example, on August 25, 2020, RUBIO agreed to meet the CS in Yakima,

WA to sell the CS a half pound of methamphetamine for $2,250 and 200 fentanyl

laced pills for $1,500. The CS met RUBIO and RUBIO sold the CS approximately

261 gross grams of suspected methamphetamine and 200 suspected fentanyl-laced

pills (84.7 gross grams). A presumptive field test of the suspected
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methamphetamine tested positive for the presence of methamphetamine. The pills

were sent to the DEA laboratory for analysis.

      On December 8, 2020, RUBIO agreed to sell the CS one-pound of

methamphetamine. RUBIO told the CS that he (RUBIO) was in Guadalajara,

Mexico but his “guy” would meet and sell the pound to the CS. The CS met

RUBIO’s “guy” identified as Roman Berumen-PEREZ in Yakima, WA. PEREZ

sold the CS approximately 497.5 gross grams of suspected methamphetamine for

$4,000. This event was orchestrated and coordinated by RUBIO as the CS and

PEREZ didn’t have prior communication with each other. RUBIO described to the

CS what vehicle PEREZ was driving and where to meet. Following the controlled

purchase, surveillance followed PEREZ to his residence at 1111 S. 11th Ave,

Yakima, WA. Agents’ later field tested the substance and it was positive for the

presence of methamphetamine.

      On January 13, 2021, Homeland Security Investigations (HSI), along with

the Clackamas County Interagency Task Force conducted a buy/bust operation in

Clackamas, Oregon. As a result of the operation, Investigators arrested RUBIO,

Jose Luis Rosas Gutierrez (ROSAS) and Arquimides Garcia Gutierrez (GARCIA),

after they were found in possession of approximately 20 pounds of

methamphetamine. At the time of RUBIO’s arrest he was in possession of a
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loaded Glock 19 9mm handgun. All three defendants were booked into the county

jail and released following day, pending further investigation.

      On January 16, 2021, the CS informed case agents that RUBIO told him/her

that he was going to sell the remainder of his fentanyl laced pills and then move to

Mexico. The CS stated that RUBIO told him/her he got arrested with

methamphetamine in Oregon and wasn’t going back to jail. The CS told agents

that RUBIO had mentioned in the past that he affiliated to the Cartel Nueva

Generacion Jalisco (CNGJ) based in Mexico and wanted to be a cartel enforcer.

      On January 15, 2021 at approximately 5:00 p.m., DEA surveillance

observed two dark colored pickups parked in the west alley of RUBIO’s residence.

Surveillance observed several individuals moving items in large bags from

RUBIO’s residence into the beds of the pickups and also items from a shed in the

backyard into the pickup beds.

      On January 21, 2021, members of the DEA Yakima Resident Office arrested

RUBIO without incident in Wapato, WA after following him from Yakima, WA.

RUBIO had arranged to sell the CS 1,000 fentanyl laced pills in Yakima, WA but

had told the CS he (RUBIO) saw what he believed to be Federal law enforcement

vehicles in the area. RUBIO then traveled to Wapato, WA, where he was located

and placed into custody at a vehicle salvage yard. RUBIO had parked his white

Honda Accord hidden behind a large trailer and was walking on foot within the
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property walking toward Donald-Wapato Road. During a search of the area,

agents located a clean clear plastic bag containing approximately 1,000 suspected

light blue M-30 stamped pills (believed to be fentanyl laced pills) in plain view,

within a burned salvaged vehicle that was next to RUBIO’s Honda Accord.

      Agents then served a Federal search warrant at RUBIO’s residence and

located approximately $5,000 cash in RUBIO’s wife, Daisy AMEZCUA’s purse,

approximately one-ounce of suspected cocaine in the basement, and a digital scale.

AMEZCUA told agents that she and the children had booked flights to Mexico and

they were leaving tomorrow (January 22, 2021). AMEZCUA said she was aware

RUBIO was selling drugs as has not worked since July 2020, but bought her

expensive Louis Vuitton purses, bags, and other items. AMEZCUA said she was

going to Mexico to leave her husband (RUBIO) after she found out he was arrested

in Oregon.

      On the same date, agents served a Federal search warrant at PEREZ’s

residence and he was located and arrested for the sale of methamphetamine on

December 8, 2020. During the search agents found a 40 caliber Glock handgun,

and small amounts of suspected cocaine, methamphetamine, fentanyl laced pills,

and heroin. PEREZ admitted to using drugs and owning the firearm. \
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      Based on my training and experience and familiarity with purity rates of

methamphetamine in the Yakima, WA, area, I have reason to believe that the

approximate 261 gross grams of suspected methamphetamine distributed by

RUBIO-FARIAS on August 25, 2020, amounts to more than 50 grams of actual

methamphetamine, and that the approximately 497.5 gross grams of suspected

methamphetamine distributed by Roman Berumen-PEREZ on December 8, 2020,

amounts to more than 50 grams of actual methamphetamine. I therefore submit

that probable cause exists that RUBIO-FARIAS and Berumen-PEREZ have

committed violations of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(viii) (Distribution of

50 Grams or More of Actual Methamphetamine).

      I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge and belief.


                                       MICHAEL Digitally   signed by
                                                  MICHAEL MERVOS

                                       MERVOS Date:     2021.01.21
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                                       Michael Mervos, Special Agent
                                       Drug Enforcement Administration


      SWORN TO telephonically and subscribed electronically this 21st day of
January, 2021.



                                       __________________________
                                       Honorable Mary K. Dimke
                                       United States Magistrate Judge
